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                               In the United States District Court
                                   for the District of Columbia


J.G.G. et al.,                                      Civil Action No. 1:25-cv-00072

                 Plaintiffs;

LIYANARA SANCHEZ, as next friend
on behalf of FRENGEL REYES MOTA,
et al.,

                 Petitioners–Plaintiffs,

       v.                                           NOTICE OF APPEAL

DONALD J. TRUMP, in his official
capacity as President of the United
States, et al.,

                 Respondents–Defendants.


      PLEASE TAKE NOTICE that all Respondents–Defendants appeal to the

United States Court of Appeals for the District of Columbia Circuit from the order of

this Court entered in this case on June 4, 2025, docketed at ECF No. 147, and all

orders merging therewith.

                                             Respectfully submitted,

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                                             August Flentje
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                                  Certificate of Service

      I hereby certify that I served this document on June 10, 2025, by filing it with

the Court’s CM/ECF system, which will electronically deliver the document to all

other parties or their counsel.

                                          s/Tiberius T. Davis
                                          Counsel for Respondents–Defendants
